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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                        CAMDEN VICINAGE



  IN RE: VALSARTAN, LOSARTAN, MDL No. 2875
  AND IRBESARTAN PRODUCTS
  LIABILITY LITIGATION        Honorable Robert B. Kugler,
                              District Court Judge

                                         Oral Argument Requested
  This Document Relates to All Actions



      DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
           PLAINTIFFS’ DAUBERT MOTION TO PRECLUDE
           DEFENSE EXPERT WILLIAM J. LAMBERT, PH.D.,
         FROM OFFERING CLASS CERTIFICATION OPINIONS
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        Pursuant to Federal Rules of Evidence 104, 403, and 702, Defendants

  Aurobindo Pharma Ltd., Aurobindo Pharma USA, Inc., and Aurolife Pharma LLC

  (collectively, “Aurobindo”) submit this memorandum of law in opposition to

  Plaintiffs’ Daubert Motion to Preclude Defense Expert William J. Lambert, Ph.D.

  from Offering Class Certification Opinions (the “Motion”), ECF 2044, and state as

  follows:

  I.    INTRODUCTION

        Plaintiffs’ Motion is an improper attempt to test the accuracy of an expert’s

  conclusions instead of the sufficiency of an expert’s applied methodology.

  Assessment of an expert’s conclusions is for the trier of fact, guided by appropriate

  cross-examination. Here, Plaintiffs do not challenge Dr. Lambert’s methodology.

  Instead, they press two narrow complaints about his report as a purported basis to

  seek exclusion of his opinions in their entirety. Plaintiffs’ complaints are without

  merit. And, even if they were right, neither point would be a basis to exclude Dr.

  Lambert’s opinions altogether.

        First, Plaintiffs erect a straw man argument and then tear it down, erroneously

  asserting that “despite being purportedly offered to opine on

                                                         , Dr. Lambert actually has no

  opinions on the matter at all.” Mot., 1. Dr. Lambert did not offer a specific opinion

  as to whether “Aurobindo complied with cGMPs” nor was he required to do so.


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  Rather, Dr. Lambert opined regarding scope, assessment, and application of cGMPs

  to the matters at hand. Plaintiffs’ circular reasoning falls flat and completely ignores

  the opinions Dr. Lambert did offer. It provides no basis for exclusion of Dr.

  Lambert’s opinions.

        Second, Plaintiffs seek to exclude Dr. Lambert because of allegedly

  “unsupported” opinions concerning the value of Aurobindo’s product, while

  ignoring the clear basis Dr. Lambert provided to support those opinions—i.e., their

  unchanged bioequivalence to the reference listed drugs. Willful ignorance of

  opinions presented cannot support the Motion.

        Dr. Lambert’s well-supported opinions were produced by a reliable

  methodology applying the expert’s specialized knowledge to the facts before him

  and, as such, they must necessarily survive this Motion for proper presentation to a

  jury to aid in understanding the issues presented in this case. Plaintiffs’ Motion

  should be denied.

  II.   LEGAL STANDARD1

        During Daubert proceedings to date, the Court has explained that




  1
    For a complete recitation of the applicable legal standard, see Defendants’
  oppositions to Plaintiffs’ Daubert motions filed at ECF 1786, 1787, 1788, 1791, and
  1796. Those standards are incorporated herein by reference.

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                                                        Its determination at this stage

  concerns

                                                                      In other words,

  the Court                                                                  .




  III.   DR. LAMBERT’S EXPERT QUALIFICATIONS AND EXPERT
         OPINIONS

         Dr. Lambert is qualified to opine on matters concerning cGMP and Chemistry,

  Manufacturing, and Controls (“CMC”). In addition to earning a B.S. in Pharmacy

  and a Ph.D. in Pharmaceutics, Dr. Lambert has worked in the industry for 35 years.

  See Ex. 1, Lambert Rpt. ¶¶ 5-14; Ex. 2, Lambert Tr. 30:20-32:7. Dr. Lambert has

  direct and extensive knowledge of and involvement with manufacturing cleaning

  procedures and cGMPs. See Ex. 1, Lambert Rpt. ¶¶ 5-14; Ex. 2, Lambert Tr. 30:20-

  32:7. Across a variety of roles, he has been responsible for a cGMP manufacturing

  facility that passed FDA inspection, hosting cGMP audits, and all CMC aspects for



  2
   Exhibits 1-5 reference the exhibits that Plaintiffs filed with the Motion on May 3,
  2022. Exhibit 6 is attached to the Declaration of John P. Lavelle, Jr. submitted
  herewith.

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  drugs from development through manufacturing. See id. Dr. Lambert is presently a

  Pharmaceutical Development, CMC, cGMP, and Drug Delivery Consultant at

  Module 3 Pharmaceutical Consulting, a company he founded in 2018. Ex. 1,

  Lambert Rpt. ¶ 12. Plaintiffs’ counsel has agreed that Dr. Lambert’s training and

  experience qualify him as an expert in cGMP and CMC. See Ex. 2, Lambert Tr.

  29:12-18; 108:8-10.

        Based on his expertise, Dr. Lambert offered several relevant and reliable

  opinions to assist the trier of fact in this matter. With respect to Aurobindo (and,

  thus, not with respect to all potential class members), Dr. Lambert rendered several

  opinions, including that:

            Aurobindo’s VCDs were not worthless. They met the USP
             compendial standards and FDA-approved specifications in the
             abbreviated new drug application, were approved AB generics in
             the FDA’s Orange Book, and were bioequivalent to the reference
             listed drugs—meaning they performed their intended purpose
             giving them worth. The presence of nitrosamines did not change
             that bioequivalence and, thus, their worth. See Ex. 1, Lambert
             Rpt. ¶¶ 17(i)-(iii), 19, 31, 128.

            Aurobindo had no reason to test for nitrosamines until their
             unexpected presence became known. At that time, Aurobindo
             appropriately and reasonably investigated the presence of
             nitrosamines in its API and VCDs, which showed

                                                          . See Ex. 1, Lambert
               Rpt. ¶¶ 17(iv)-(vi), 131-32.

            Aurobindo reasonably qualified and oversaw Lantech, its
             recovered solvent vendor. See Ex. 1, Lambert Rpt. ¶¶ 17(viii)-
             (ix), 134-37.

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              Not all cGMP compliance observations by FDA are valid,
               and an FDA observation does not constitute a final agency
               determination that any condition is in violation of federal
               law. The cGMP compliance issues observed by the FDA and
               related to the manufacture of VCDs are not the types of
               compliance issues that would impact all Defendants’ VCDs
               equally due to manufacturer independence and differing systems,
               facilities, equipment, personnel, vendors, processes, and
               procedures. See Ex. 1, Lambert Rpt. ¶¶ 17(xi), 127.

  IV.   ARGUMENT

        A.      Plaintiffs’ Argument About Dr. Lambert’s cGMP-Related
                Opinions is Incorrect and Does Not Preclude Dr. Lambert’s
                Testimony.

        Plaintiffs do not challenge Dr. Lambert’s numerous opinions regarding

  cGMPs, all properly reached through a reliable methodology. See Ex. 1, Lambert

  Rpt. ¶¶ 17(iv)-(xi), 127, 132, 134-37. Instead, they crafted a specific opinion that

  Dr. Lambert did not give—“Aurobindo was in compliance with cGMPs”—and

  assert that failure to give that one opinion3 means that Dr. Lambert should not be

  allowed to say anything at all. See Mot., 1, 4-5.

        Plaintiffs’ request exceeds the scope of the Court’s gatekeeping function. As

  the Third Circuit has directed, expert testimony should only be excluded when the

  expert’s methodology is so flawed that the expert “lacks ‘good grounds’ for his or

  her conclusions.” See In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 746 (3d Cir.



  3
   Such a broad opinion, unlimited in time and silent as to the Aurobindo entity and/or
  facility in question, is not warranted in this matter.

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  1994). Here, Dr. Lambert applied his cGMP expertise to render numerous sound

  opinions, which have not been challenged. He followed a reliable methodology and

  there is no basis to exclude his opinions concerning cGMPs.

        Dr. Lambert used his knowledge of cGMPs, which broadly provide for

  systems that assure proper design, monitoring, and control of manufacturing

  processes and facilities, to render expert opinions in this matter. See Ex. 2, Lambert

  Tr. 87:5; Ex. 1, Lambert Rpt. ¶ 26; see Ex. 2, Lambert Tr. 123:10-16, 126:23-127:3;

  128:5-9. He applied his expertise to study, analyze, and then opine on the role of

  cGMPs in the industry, FDA’s authority to determine compliance status, the import

  of FDA Form 483s, the connection between cGMPs and adulteration, and certain of

  Aurobindo’s specific manufacturing processes concerning impurity testing and

  recovered solvents. See supra Section III; Ex. 1, Lambert Rpt. ¶¶ 17(iv)-(xi), 127,

  132, 134-37; Ex. 2, Lambert Tr. 36:2-37:1; 41:24-43:5; 93:7-14; 222:17-223:19. In

  the end, he concluded that Aurobindo reasonably qualified and oversaw recovered

  solvents vendor Lantech, appropriately assessed risk for nitrosamines, completely

  investigated its VCDs for nitrosamines, and voluntarily conducted the necessary

  recalls in coordination with FDA. See Ex. 1, Lambert Rpt. ¶¶ 17(iv), 17(vi), 17(ix),

  70, 75, 96-97, 107, 114, 132.

        As part of his work, Dr. Lambert necessarily analyzed the arguments and

  expert opinions put forward by the Plaintiffs in support of their motions for class


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  certification. He disagreed with many of their arguments and conclusions. But his

  analysis did not end there. As evident on the face of Dr. Lambert’s report, he

  specified a conclusion one of Plaintiffs’ experts asserted, explained why he

  disagreed, and stated his contrary opinion. See Ex. 1, Lambert Rpt. ¶¶ 34-38, 39,

  40-48, 86-88, 89-91, 92-94, 95-98, 99-102, 103-05, 106-14, 115-17, 118-19, 120-

  25, 126. This approach is not simply disagreeing with an opposing expert and

  asserting that the opposite must be true, as Plaintiffs suggest. See Mot., 6, 7 n.7; Ex.

  3, 3/2/2022 Tr. 162:6-8. It is a substantive disagreement between experts that is to

  be expected in a matter of this nature, and such a disagreement is solidly insufficient

  grounds for the exclusion of expert testimony. See, e.g., In re Gabapentin Pat. Litig.,

  MDL Dkt. No. 1384, 2011 WL 12516763, at *10 (D.N.J. Apr. 8, 2011) (concluding

  that disagreement between experts regarding application of a methodology presents

  “a battle of the experts” to be resolved by the trier of fact).

        Plaintiffs’ straw man argument in no way undermines the methodology that

  Dr. Lambert followed in reaching the opinions he did present. Thus, the Motion

  must be denied.

        B.     Plaintiffs’ Argument Ignores Dr. Lambert’s Stated Basis for VCD
               Value and Does Not Preclude Dr. Lambert’s Testimony.

        A threshold component of Plaintiffs’ damages case is their assertion that

                                                                . Plaintiffs so desperately

  need this to be true that they ignore and reject all information to the contrary. To

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  avoid Dr. Lambert’s opinion that Aurobindo’s VCDs had value, Plaintiffs conflate

  price and value, incorrectly attribute an improper economic opinion to Dr. Lambert,

  and attempt to undermine Dr. Lambert’s opinion by calling it “tentative.” These

  attempts fail.

        Price and value are not interchangeable concepts. See Defs.’ Mot. to Exclude

  Dr. Conti, ECF 2040-1, 8-16 (explaining why price and value are not

  interchangeable concepts). Dr. Lambert has not offered an economic opinion. To

  the contrary, he acknowledged that he is not an economist and made clear that he

  based his assignment of worth in Aurobindo’s VCDs on his training and expertise.

  Ex. 2, Lambert Tr. 234:13-23. And his opinion of Aurobindo’s VCDs’ worth is not

  “tentative.” Mot., 9.4 It is clearly asserted and fully supported.

        Based on his cGMP and CMC expertise, Dr. Lambert opined that the

  “Aurobindo VCDs, including those with trace nitrosamine, were bioequivalent to

  the reference listed drug (RLD).” Ex. 1, Lambert Rpt. ¶ 31. He analyzed the record

  and concluded that “[t]here is no evidence to the contrary.” Id. He further opined

  that “these products were and are AB approved generics” in FDA’s Orange Book.

  Id. He reasoned this status means that Aurobindo’s VCDs “were bioequivalent and

  4
    Plaintiffs misrepresent Dr. Lambert’s testimony when he stated: “So I don’t
  believe I’ve offered any opinion on these topics.” Mot., 9 (citing Ex. 2, Lambert Tr.
  106:3-5). Dr. Lambert’s answer was in response to a question about a legal
  interpretation of statutory language in 21 U.S.C. § 331. See Ex. 2, Lambert Tr.
  105:10-24.

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  [] match[ed] the label and package insert,” they “satisf[ied] the criteria to be

  accurately described as generic equivalents,” and—most importantly—“[t]hey

  could perform their intended purpose and were not worthless.” Id. (emphasis

  added); see Ex. 1, Lambert Rpt. ¶¶ 17(iii), 42; Ex 2., Lambert Tr. 205:1-206:14,

  209:17-210:1, 213:16-22, 240:11-21, 241:20-242:2. Dr. Lambert explained his

  bioequivalence assessment and the reasons why the bioequivalence assessments

  from Plaintiffs’ experts are wrong, including by explaining how “[t]here is no

  credible mechanism for nitrosamines to affect bioequivalence,” especially with the

  trace levels of nitrosamine found in certain Aurobindo lots. Ex. 1, Lambert Rpt. ¶

  42; see id. ¶¶ 30-31, 40-42, 47, 116.

        Plaintiffs chose to barely address these opinions at Dr. Lambert’s deposition.

  In fact, the testimony that Plaintiffs cite in an attempt to undermine Dr. Lambert’s

  opinions actually provides further support. See Mot., 11 & n.16 (citing Ex. 2,

  Lambert Tr. 234:5-236:5).      There, Dr. Lambert made clear that he used his

  “expertise” and “training” to assign worth to Aurobindo’s VCDs based on their

  “retained therapeutic or clinical value.” Ex. 2, Lambert Tr. 234:5-23; see id. 233:17-

  234:3 (“They probably prevented some myocardial infarctions. So yeah, I think they

  had value.”).

        Further, Dr. Lambert’s report explains that Plaintiffs’ focus on technical

  adulteration under the statutory definition is misplaced and does not make


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  Aurobindo’s VCDs worthless.          FDA’s Facts About the Current Good

  Manufacturing Practices (CGMPs) clearly states that:

        “If a company is not complying with CGMP regulations, any drug it
        makes is considered ‘adulterated’ under the law. This kind of
        adulteration means that the drug was not manufactured under
        conditions that comply with CGMP. It does not mean that there is
        necessarily something wrong with the drug.”

        See Ex. 1, Lambert Rpt. ¶ 26; https://www.fda.gov/drugs/pharmaceutical-

  quality-resources/facts-about-current-good-manufacturing-practices-cgmps

  (emphasis added). FDA acted on this guidance with respect to Aurobindo’s VCDs,

  advising that “[h]ealth care professionals should continue to prescribe medications

  when clinically appropriate even though they may have low levels of nitrosamine

  impurities.” See Ex. 1, Lambert Rpt. ¶ 25; FDA, Information about Nitrosamine

  Impurities     in     Medication,      https://www.fda.gov/drugs/drug-safety-and-

  availability/information-about-nitrosamine-impurities-medications.

        Contrary to Plaintiffs’ assertions, Dr. Lambert’s agreement with counsel’s

  recitation of 21 U.S.C. § 331(a)’s prohibition against introduction of an

  “adulterated” drug into interstate commerce does not render his opinions

  inadmissible. See Mot., 9 (citing Ex. 2, Lambert Tr. 104:10-105:8). FDA’s own

  guidance shows that technically “adulterated” products can retain value and worth.

  The weight of authority supports Dr. Lambert as well. See Shahinian v. Kimberly-

  Clark Corp., No. CV 14-8390-DMG (PLAx), 2017 WL 11595343, at *11 (C.D. Cal.


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  Mar. 7, 2017) (excluding expert opinions premised on simplistic insistence that

  “adulterated or misbranded products [necessarily] have no value as a matter of law”);

  Ctr. City Periodontists, P.C. v. Dentsply Int’l, Inc., 321 F.R.D. 193, 204 (E.D. Pa.

  2017) (excluding damages expert for presuming dental device was “worthless” and

  failing to credit “value obtained even with the alleged defect”); In re Rezulin Prods.

  Liab. Litig., 210 F.R.D. 61, 68-69 (S.D.N.Y. 2002) (treating recalled diabetes drug

  as “worthless. . . . is not a defensible position” because medication was “beneficial

  to many patients”); In re Baycol Prods. Litig., 218 F.R.D. 197, 213 (D. Minn. 2003)

  (the court “cannot accept” that recalled medication “did not provide any benefit”

  where there was no dispute that it “effectively reduce[d] cholesterol”).

        Plaintiffs’ supplemental arguments also ring hollow.           First, Plaintiffs

  complain that Dr. Lambert “does not quantify or posit                          might

  have had or explain how or why he gets to that rumination.” Mot., 9. But Dr.

  Lambert is not required to specify an exact value—Plaintiffs can cite no authority

  requiring it —and not doing so is not grounds for excluding his opinions. Second,

  Plaintiffs assert that “the undisputed evidence—which Dr. Lambert ignored in

  preparing his report, but which he admitted to at deposition—shows

                                           .” Mot., 9. Yet, they cite no documents or

  deposition testimony in support; this claim is unsubstantiated. Third, they attribute




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  a “concession” to Dr. Lambert that is not supported by his testimony,5 and fail to

  state how such a “concession” means that Aurobindo’s VCDs were worthless. Mot.,

  11.

          Finally, Plaintiffs incorrectly state that Dr. Lambert did not know and did not

  consider that                                              . Mot., 11 & n.14.6 As

  conveyed in his report and his deposition, he knew and considered that Aurobindo

  recalled some, but not all, VCDs. See Ex. 1, Lambert Rpt. ¶¶ 17(iv) (

                  ), 23 (same); Ex. 2, Lambert Tr. 168:6-9

                                                                                       ).

  Plaintiffs, again, are plainly wrong.

          Each alleged deficiency in Dr. Lambert’s opinions is refuted on the face of

  Dr. Lambert’s report, and none undermine the methodology he used to reach his

  opinions. There is no basis for exclusion.



  5
      Plaintiffs state that Dr. Lambert “conceded that if given the choice

                           .” Mot., 11. Dr. Lambert actually stated: “So I suppose,
  given the choice, yeah, you might choose the uncontaminated.” Ex. 2, Lambert Tr.
  256:17-19. In the remainder of his answer, which Plaintiffs excluded from the
  Motion, he states: “But the issue is, is there would have been a drug shortage. And
  so the supply of valsartan would not have been sufficient to meet the demand.” Ex.
  2, Lambert Tr. 256:20-23.
  6
    Plaintiffs cite Ex. 2, Lambert Tr. 255:4-20, which concerns VCDs from
  manufacturers other than Aurobindo, and Dr. Lambert expressed no opinions on
  non-Aurobindo VCDs.

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         C.    Plaintiffs’ Mischaracterization of Witness Testimony Does Not
               Preclude Dr. Lambert’s Opinions.

         Because Dr. Lambert’s opinions followed an appropriate methodology and

  were based on record evidence, Plaintiffs’ Motion should be denied without need for

  the Court even to consider Plaintiffs’ attempts to undermine Dr. Lambert’s opinions

  based on purported contrary evidence.         Should the Court consider Plaintiffs’

  arguments, their assertions are incorrect and take the testimony they rely on out of

  context.

         First, Plaintiffs state that Ms. Johns, in her role as “Aurobindo’s own Rule

  30(b)(6) designee on regulatory issues and Director of Regulatory Affairs” “testified

  that                                                                                .”

  Mot., 10. That is a misrepresentation of Ms. John’s testimony. After establishing

  that she was not aware that plaintiffs in the litigation had developed cancer and “now

  want[ed] their money back,” Ms. Johns was asked if she thought people “should get

  their money back” to which Ms. Johns responded: “I don’t know anything about,

  you know, paying back, because I don’t get involved in those – that’s outside my

  responsibility.” Ex. 4, Johns Tr. 40:11-41:8. When pressed for her “personal

  opinion” on the matter she simply stated that “that’s general practice, I assume.”

  Ex. 4, Johns Tr. 41:13-18 (emphasis added). This is hardly Aurobindo agreeing that

  its VCDs were “worthless.”



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        Second, at Dr. Rao’s deposition, he, as a fact witness, was presented a

  counterfactual hypothetical. See Ex. 5, Rao Tr. 235:6-18, 235:23-236:4. Dr. Rao

  was asked to agree that Aurobindo’s VCDs containing “any amount of NDEA”

  would not be purchased by anyone. See Ex. 5, Rao Tr. 235:6-9. That premise is

  contrary to the facts of this case—such product was purchased, was not subject to

  recall because it was below the acceptable NDEA limit, and was available for

  continued use per FDA guidance. See supra Section IV.B. No credible argument

  can be made that Dr. Rao’s agreement to Plaintiffs’ counsel’s hypothetical

  proposition can be interpreted as Aurobindo agreeing that its VCDs were worthless.

  Notably, Plaintiffs exclude four lines from Dr. Rao’s transcript where he did not

  agree that Aurobindo’s VCDs were “valueless.” Mot., 10-11 (omitting Ex. 5, Rao

  Tr. 235:19-22 (“Q: It’s valueless? A: You know, the nitrosamine contamination,

  you know, cleared carcinogenic either after the long exposure.”)).

        Neither the testimony from Ms. Johns nor the testimony from Dr. Rao limit

  Dr. Lambert’s own opinions regarding the value of Aurobindo’s products.7

  Moreover, Dr. Lambert, in his role as an expert witness, need not analyze and

  address every piece of evidence in a case. As the Court has reminded the parties



  7
   If Plaintiffs were genuine in their attack on Dr. Lambert’s opinion regarding the
  value of Aurobindo’s VCDs because he “is neither an economist . . . nor a medical
  doctor,” Mot., 9, they would not even entertain the testimony of Ms. Johns and Dr.
  Rao, who also are not economists or medical doctors.
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  already, perceived weakness in an expert’s opinions can be exposed through

  “[v]igorous cross-examination” at trial; it is not grounds for exclusion. See Daubert

  v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596 (1993).

  V.    CONCLUSION

        There is no basis upon which to grant Plaintiffs’ Motion. It must be denied.

   Dated: June 2, 2022                          Respectfully submitted,

                                                By: /s/ John P. Lavelle, Jr.

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                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 2, 2022, I caused the foregoing to be

  electronically filed the foregoing with the Clerk of the Court by using the CM/ECF

  system which will send a notice of electronic filing to all CM/ECF participants in

  this matter.



                                              /s/ John P. Lavelle, Jr.
